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1                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF FLORIDA
2                                  PENSACOLA DIVISION
3                           Civil Action No.      3:21-cv-01066
4
              STATE OF FLORIDA,
5
                                 Plaintiff,
6
              v.
7
              The UNITED STATES OF AMERICA, et
8             al.,
9                                Defendants.
              ________________________________/
10
11
                             WEB CONFERENCE DEPOSITION OF
12
                                         JACOB OLIVA
13
                           Taken on Behalf of the Defendants
14
15                                Tuesday, July 5, 2022
                                 10:50 a.m. - 12:52 p.m.
16
17                           LOCATION:     Via Web Conference
18
19
20
21                 Stenographically Reported Via Web Conference By:
                                         Mary Hlavac
22                         Registered Professional Reporter
23                             Registered Merit Reporter
24                            Certified Realtime Reporter
25                            Job No. CS5298250

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1                A.    That's correct.

2                Q.    Okay.     And then taking a look at the most

3         school year of '21-'22, your total enrollment went up

4         a little bit.        It looks like you had 2.83 million

5         students on both surveys?

6                A.    Correct.

7                Q.    And you had 90,000 immigrant students in

8         Survey 2 and 101,000 immigrant students in Survey 3,

9         correct?

10               A.    That's correct.

11               Q.    And these numbers are approximately

12        3 percent of the total enrollment; is that right?

13               A.    I'd have to do my math, but it sounds about

14        right.

15               Q.    So this definition of immigration students

16        doesn't tell us whether they're citizens or

17        noncitizens; is that correct?

18               A.    That's correct.

19               Q.    Because that's not something that the state

20        actually tracks?

21               A.    That's correct.      We serve every student that

22        walks through the door and put them on a track for

23        success.

24                     MS. RYAN:     If it's okay with everyone, can

25               we take a quick like five-minute break?

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1                      MR. STAFFORD:     Certainly.     What time do

2                you want to come back?

3                      MS. RYAN:    Let's do 11:40.

4                      (Recess at 11:33 a.m. until 11:42 a.m.)

5                      THE WITNESS:     I want to clarify some of

6                the early learning numbers, if you want me to

7                go back to that.

8         BY MS. RYAN:

9                Q.    Sure.

10               A.    So I told you my guess was about 300,

11        350,00.     So I wasn't far off.       So in voluntary

12        pre-kindergarten we have about 150,000 students

13        participate.      And then in school readiness, which is

14        kind of zero to five, although they could switch to

15        pre-kindergarten, is about 200,000 students.             So

16        there's about 350,000 students kind of in that zero to

17        five space prior to kindergarten.

18               Q.    All right.     Okay.   Just to kind of jump back

19        in where we were -- left off with this document

20        talking about immigrant students.           This -- these

21        numbers don't tell you whether those immigrant

22        students are citizens or noncitizens, correct?

23               A.    That's correct.

24               Q.    The Department of Education can't determine

25        who came over the border?

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1                A.    We don't collect that data.           We couldn't

2         provide that.

3                Q.    And you don't know who is a legal permanent

4         resident?

5                A.    We don't know their status of citizenship.

6                Q.    So you can't actually tell us that any of

7         the funding that is given to districts whether a

8         single dollar is actually spent on an applicant for

9         admission who was paroled by the federal government at

10        the southwest border.

11               A.    We can tell you how much dollars are spent

12        based on the student and the FTE, the full-time

13        equivalencies that they generate, but we couldn't tell

14        you whether or not that student is a citizen or not.

15                     MS. RYAN:    One second.

16        BY MS. RYAN:

17               Q.    So while the Department of Education can't

18        tell us if a student is an actual immigrant, you also

19        can't tell us if they fall within any specific

20        categories of immigration status either?

21               A.    I think to qualify for immigration services

22        is different than citizenship.          So I want to make sure

23        that we're not blurring the two and keeping two

24        delineations when you're asking for clarification.               So

25        I just want to make sure I understood that question.

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1                Q.    So you used the federal definition of an

2         immigrant student which you said is someone not

3         educated in the United States the last three academic

4         school years, correct?

5                A.    That's correct.

6                Q.    So that could include a U.S. citizen whose

7         parents were deployed overseas for three years and

8         they were educated in Europe and then came back.              They

9         would be considered an immigrant student under the

10        Department of Education?

11               A.    That is correct.      In that scenario they

12        could qualify, yes.

13               Q.    Okay.   So being considered an immigrant

14        student under the Department of Education has no

15        relation to that student's citizenship status?

16               A.    That's correct.

17               Q.    And you cannot tell us how many noncitizen

18        students are enrolled in schools in the State of

19        Florida?

20               A.    We do not collect that data.

21               Q.    You read the complaint for this case you

22        said, right?

23               A.    Yes, ma'am.

24               Q.    Do you know that the State of Florida is

25        alleging harm for having to educate noncitizen

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1         students who came over the southwest border and

2         applied for asylum and were paroled by the federal

3         government, right?

4                      MR. STAFFORD:     Object to form.      You can

5                answer.

6                A.    That's my understanding that the complaint

7         is written about.

8         BY MS. RYAN:

9                Q.    But you can't actually tell us the number of

10        students that may fall into that category?

11               A.    We don't collect citizen status.          And I can

12        tell you working with school districts, any family or

13        child that shows up to a school to enroll, we enroll.

14        And regardless of their background or academic

15        history, we do our very best to put them in a program

16        to meet their needs and put them on a pathway and

17        track record for success.

18               Q.    So the Department of Education can't

19        articulate any specific harm attributable to this

20        policy; is that correct?

21                     MR. STAFFORD:     Object to form.      You can

22               answer.

23               A.    I can tell you that we educate anybody that

24        walks through the door.        We don't ask for their

25        citizen status, we don't ask for their background

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1         questions, it could trigger an assessment of the

2         student's English abilities where they are measured on

3         listening, speaking, reading and writing.

4                        A parent may not disclose any of that

5         information upon registration and a teacher may notice

6         that the child is using an alternative language

7         besides English and could warrant a screening with

8         parent consent to see if they qualify for additional

9         language support services.

10               Q.      So that comes from the district level and is

11        reported up to the State Department of Education?

12               A.      That's correct.

13                       MS. RYAN:    Okay.   I think we're almost

14               done.     Why don't we take a quick let's say

15               five-minute break.        And I'll take a look over

16               kind of the questions and the topics we have,

17               and then we should be able to wrap up pretty

18               soon.

19                       THE WITNESS:    Thank you.

20                       (Brief recess, 12:31 p.m. to 12:38 p.m.)

21               A.      Can I go on for clarification?       When we were

22        talking about the definition of an immigrant student,

23        you used the example of a military family that may

24        have been deployed overseas from more than three

25        years, comes back.         That doesn't necessarily mean they

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1         would qualify.       I just want to clarify.       They would

2         have to have been born outside of the United States as

3         well.

4         BY MS. RYAN:

5                 Q.   Okay.    So that wasn't involved in the

6         definition you gave us earlier.          So before, you said

7         it was just any student who had not been educated in

8         the United States for the last three years?

9                 A.   That's correct.      And born -- I want to

10        clarify.     And born outside of the United States.           I

11        might have missed that.

12                Q.   Okay.    So place of birth is something that

13        the State Department of Education has to collect in

14        order to know that information; is that right?

15                A.   That's part of the enrollment packet.           They

16        can ask that question.        That's to meet the federal

17        definition.

18                Q.   So the department does have a sense of how

19        many students are not potentially U.S. citizens?

20                A.   That is not correct.

21                     MR. STAFFORD:     Object to form.

22                A.   We do not track citizen status.         We can --

23        we can collect data if somebody was born outside of

24        the United States or DC or Puerto Rico, would not

25        qualify for that.

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1                      MS. RYAN:    One second.

2                      (Brief pause.)

3         BY MS. RYAN:

4                Q.    So the Department of Education does not

5         officially track the citizenship status of their

6         students, correct?

7                A.    We are prohibited from asking the student or

8         parent their citizen status.

9                Q.    But you do track place of birth in order to

10        determine in part whether they are an immigrant

11        student under this definition, correct?

12               A.    Yeah, we are able to ask that question.

13        Whether or not the family chooses to disclose may be

14        different.     It wouldn't prohibit them from entering

15        our schools, but that is something that we do ask.

16               Q.    Does the department unofficially estimate

17        how many students are noncitizens?

18               A.    I don't think we would have any kind of

19        methodology to be able to apply that with any logic.

20               Q.    Do you know what percent of the state's

21        overall budget is spent on educational services?

22               A.    It's about 25 to 26 percent.

23               Q.    And of that amount, what percentage is used

24        on noncitizens?

25               A.    I couldn't tell you what the percentage is

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1          to support noncitizens.

2                Q.     Are you familiar with Florida Executive

3          Order 21-223?

4                A.     Yes, ma'am.

5                Q.     Okay.   You said you reviewed that before the

6          deposition?

7                A.     Yes, ma'am.

8                Q.     Okay.   Does that executive order have any

9          impact on the services provided by the Department of

10         Education?

11                      MR. STAFFORD:     And I'm providing him a

12               copy of the executive order.

13                      MS. RYAN:     Thank you.

14               A.     I don't know if this executive order would

15         have any impact on services that we provide because

16         we're going to provide services to any student or

17         family that shows up at our schools.

18               Q.     Would it have an impact at all on your

19         budget or -- any impact on your budget?

20               A.     I'm not sure I can answer that question.

21         Our budget is allocated by the state to support any

22         family or student that walks through the door.

23               Q.     Does the Department of Education have any

24         role that it has to fulfill based on this executive

25         order?

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